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             EXHIBIT 10
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GeriMed (Susan M. Rhodus, R.Ph., CGP)    HIGHLY CONFIDENTIAL                January 23, 2008
                                        Louisville, KY

                                                                                   Page 1
                    UNITED STATES DISTRICT COURT

                      DISTRICT OF MASSACHUSETTS



       -----------------------------------X

       In re:   PHARMACEUTICAL INDUSTRY       )

       AVERAGE WHOLESALE PRICE                )

       LITIGATION                             ) MDL No. 1456

       __________________________________ ) Civil Action No.

                                              ) 01-12257-PBS

       THIS DOCUMENT RELATES TO:              )

                                              ) Judge Patti B.

                                              )        Saris

       United States of America, ex rel.      )

       Ven-a-Care of Florida Keys, Inc.,      ) Magistrate Judge

       v. Abbott Laboratories, Inc.,          ) Marianne Bowler

       CIVIL ACTION NO. 06-11337-PBS          )

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                     *** HIGHLY CONFIDENTIAL ***

                      Deposition of GERIMED by

                    SUSAN M. RHODUS, R. Ph., CGP

                          JANUARY 23, 2008

                        LOUISVILLE, KENTUCKY




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                                            Page 130                                                  Page 132
 1       A. Yes.                                          1   to the product that would be produced against the
 2       Q. Okay. And it says, "Supplier name,            2   NDA product, the innovative product. I think it
 3   Abbott Hospital."                                    3   was bioequivalent.
 4          And if you -- let's, let's continue on        4       Q. There's another column there that says,
 5   going down on this document.                         5   "MFG Source."
 6          There are a variety of different              6           Do you see that?
 7   columns. I want to sort of ask what each of them     7       A. That would be a manufacturer source if
 8   represent and get some further clarification         8   it was not -- the company that bid on the
 9   about that.                                          9   product, if they were outsourcing it to somebody
10          Let's start with the columns on the          10   else, then they would put their manufacturer
11   left and work our way to the right.                 11   source in there.
12          On the left, there's a -- a column that      12       Q. And then the next column is "Generic
13   says "Flags," and then there's a "P" and an "I"     13   Name," which is pretty self-explanatory.
14   underneath that.                                    14           And the trade name, which is relatively
15       A. Yes.                                         15   self -- self-explanatory.
16       Q. What does -- what does that column           16           And NDC is self-explanatory.
17   stand for?                                          17           We have a column there that says,
18       A. Flag -- the -- the "I," I know, is           18   "Package Size."
19   incentive program. "P" is for preferred.            19           Why don't you just clarify exactly
20       Q. When you had a contract with a -- or --      20   what's being referred to there.
21   or, a contract with a manufacturer, did you         21           MR. COOK: Objection.
22   typically have -- was it typically that some of     22           THE WITNESS: Package size is how many
                                            Page 131                                                  Page 133
 1   the -- of the products were preferred products       1   products were available from -- in the usual pack
 2   and some weren't, or was it usually the whole        2   that they would purchase that product in, either
 3   contract, or how did that work?                      3   direct or from the wholesaler.
 4      A. It would be some of the products.              4   BY MR. GOBENA:
 5      Q. And when you say "incentive program,"          5       Q. So, if we go down to the first entry,
 6   what kind of incentive programs are you talking      6   "Alcohol Injection Dehydrated," and it says,
 7   about?                                               7   "25," is that indicating that there are 25 units
 8      A. A -- a program like we talked about            8   of this particular drug within the package?
 9   with a market share program.                         9       A. Twenty-five amps, because it says
10      Q. Okay. The next column says, "FDA."            10   that's it's an amp on the other side.
11          What does that stand for?                    11       Q. Yeah. Got you. Okay.
12      A. The FDA rating from the -- from the FDA       12           In the next column, it says, "Awarded
13   on the product and whether it was AB rated, AP      13   Price."
14   rated, AT rated, B rated, whatever the FDA          14       A. Yes.
15   designation was for that product.                   15       Q. And there's an amount there.
16      Q. There's some products here for Abbott.        16           Does that price reflect the price per
17   Amikacin is one of them if you'll look three rows   17   package, or -- let's take the first line again,
18   down.                                               18   this "Alcohol Injected Dehydrated."
19      A. Yes.                                          19           Is that awarded price a price per amp?
20      Q. And there's an "AP" next to it.               20       A. No. That's per package.
21          What does the AP rating stand for?           21       Q. And in the next column there, you have
22      A. That means it's a -- it's bioequivalent       22   "AWP" listed there, correct?
                                                                               34 (Pages 130 to 133)
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 1      A. Correct.                                       1        A. Single source award is a -- an award
 2      Q. And that would be the AWP for this             2   that's for -- that particular generic name, that
 3   particular drug and NDC; is that correct?            3   it's the only product that's -- and, and package
 4      A. Correct.                                       4   size, both, that is the only award that was made
 5      Q. And can you explain why there's a              5   for that particular item for that year.
 6   column here for -- that, that lists the AWP for      6        Q. So, in the case of this alcohol
 7   the product in this award document?                  7   injected dehydrated product, is it -- is it fair
 8      A. Because the -- the pharmacies were             8   to say, then, that Abbott's version of this
 9   reimbursed based off of AWP, so we put that          9   particular drug is the only one that GeriMed
10   information in there for them to know how they      10   entered into a contract with that year during
11   were reimbursed and to know what the average        11   this contract period?
12   price is versus what they were paying for their     12        A. Yes.
13   contract price.                                     13        Q. Why don't you explain what a -- what a
14      Q. And the next column says, "Cost Per           14   dual award is, for the record.
15   Milligram" -- or, sorry, "Milliliter, Gram, or      15        A. A dual means that there is two items,
16   Tablet."                                            16   and they're exactly the same, exactly the same
17          Can you explain what that column is          17   package size. We awarded one to one manufacturer
18   referring to?                                       18   and one to another manufacturer.
19      A. That takes the package size times how         19        Q. And a multiple award?
20   many MLs are in the -- in the particular generic    20        A. That would be three or more awards.
21   name, and divides that by the -- by the awarded     21        Q. Okay. I'm going to track for the --
22   price to get a cost per ML, gram, et cetera.        22   throughout the rest of these price awards lists
                                             Page 135                                                Page 137
 1       Q. So, in the example of the alcohol             1   that we're going to go through, one -- one drug
 2   injected dehydrated, this first entry here on        2   in particular.
 3   this IVMed award, what -- that "cost per," is --     3           And I want to turn your attention to
 4   is that the cost per amp?                            4   the second to last page of this exhibit, which
 5       A. Correct. In that particular case, it          5   has a Bates number of TXABT16566.
 6   would be by amp.                                     6       A. Okay.
 7       Q. Okay. And then if you look at the next        7       Q. And I want to draw your attention down
 8   column, it says, "Min Ord."                          8   -- let's see, it's one, two, three, four, five,
 9           Could you clarify what -- what's being       9   six, seven rows down for an entry relating to
10   referred to in that column?                         10   Vancomycin, HCL injection, one gram power vial.
11       A. It's a minimum order if they ordered         11           Do you see that there?
12   direct from the manufacturer.                       12       A. Yes.
13       Q. And then there's a -- another column         13       Q. And so, if you look at this package --
14   that says, "T" and has a letter "P" underneath      14   sorry, if you look at this particular drug on the
15   it.                                                 15   formulary that you have here, it -- it shows a
16       A. That's the type of award. "S" means a        16   package size of ten, correct?
17   single source award, "D" is a dual award, and "M"   17       A. Yes.
18   would be a multiple award.                          18       Q. Okay. And the award price is $48 for
19       Q. Explain, for the record, what the            19   that package of ten; is that correct?
20   difference is between a single source award, a      20       A. Yes.
21   dual -- well, explain what a single source award    21       Q. Okay. And the AWP you have listed here
22   is first.                                           22   is $700.44, correct?
                                                                              35 (Pages 134 to 137)
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 1   passing the -- the witness to Mr. Anderson, who's  1       A. Correct.
 2   representing the Relator.                          2       Q. And in addition, GeriMed also strives
 3                                                      3   to determine which drug products will be most
 4              EXAMINATION                             4   profitable for member pharmacies to dispense,
 5   BY MR. ANDERSON:                                   5   correct?
 6      Q. Good afternoon, ma'am. I have some           6          MR. COOK: Objection.
 7   questions for you, but I'll try to move quickly.   7          THE WITNESS: For the contracts that we
 8          If I understand your prior testimony        8   have available, to tell them which of those
 9   correctly, GeriMed represents member pharmacies 9      products would be the best for them to purchase
10   that are primarily pharmacies in facilities such  10   for profitability, yes.
11   as nursing homes; is that correct?                11   BY MR. ANDERSON:
12      A. They're not in the facilities. They're      12       Q. Right.
13   servicing facilities.                             13          And part of the equation that GeriMed
14      Q. Okay. Thank you.                            14   utilizes to ascertain which products may be most
15      A. They don't necessarily have to be in        15   profitable is AWP, correct?
16   the facility themselves.                          16       A. It was -- it was -- yes, it was in the
17      Q. I see.                                      17   past. Today, the way the reimbursement is, it's
18          But they're closed-door pharmacies that    18   not necessarily something we look at as -- as
19   service facilities such as nursing homes; is that 19   much.
20   correct?                                          20       Q. In the past couple of years, some
21      A. Correct.                                    21   payors have moved away from AWP as a -- a basis
22      Q. Okay. And then IVMed is a business          22   for reimbursement?
                                            Page 163                                               Page 165
 1   name of GeriMed's, correct?                        1       A. The world has changed with Medicare
 2      A. Correct.                                     2   Part D. And now you have insurance plans who are
 3      Q. And IVMed typically represents member        3   involved in the marketplace who primarily pay
 4   pharmacies that are home infusion pharmacies; is 4     everything on MAC.
 5   that correct?                                      5       Q. And --
 6      A. Correct.                                     6       A. For generic products.
 7      Q. And then GeriMed also does business          7       Q. Right.
 8   under the name RxMed, correct?                     8          And you referenced Medicare Part D.
 9      A. Correct.                                     9          Did you reference that program because
10      Q. And RxMed is an organization or a           10   it does not reimburse based on AWP?
11   business name that represents member pharmacies 11         A. No. I referenced that program because
12   that are primarily retail pharmacies, correct?    12   the insurance companies use a MAC for a lot of
13      A. Correct.                                    13   products, versus what happened in the past with
14      Q. And then under each of those business       14   how the system was set up.
15   names, GeriMed attempts to negotiate pricing with 15       Q. Okay. Looking back in the past, how
16   drug companies on numerous drug products for      16   did Abbott go about ensuring that member
17   those member pharmacies, correct?                 17   pharmacies would comply with purchasing products
18      A. Correct.                                    18   that GeriMed had identified as most profitable?
19      Q. And in doing so, one of the benefits of     19          MR. COOK: Objection.
20   bringing all of these pharmacies together is to   20          THE WITNESS: The -- the way that
21   have synergy with size and increased bargaining 21     GeriMed always did business is, we look at
22   power, correct?                                   22   several different pieces of -- of pie. We look
                                                                            42 (Pages 162 to 165)
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 1   at -- we do not make a decision solely on one      1       A. We published our -- our binder that had
 2   thing. We look at the efficacy of the drug,        2   all of the information in it, and we also
 3   which an AB rating would be efficacy in a generic 3    published our EmphaSys program, the CD with all
 4   product. We look at the cost of the drug, which    4   of the information on it. Both of those ways.
 5   is extremely important. If it's not a low cost     5       Q. And would you consider those sources of
 6   drug, then we don't award that product at all.     6   information, both the EmphaSys software and the
 7           We do look at AWP spread as another        7   binders, to be methods of promotion of drug
 8   piece of what we look at. And we also look at      8   products by GeriMed?
 9   the availability of the drug. And -- and by        9       A. For the products that were available on
10   availability, I'm talking if -- if the            10   contract, yes.
11   wholesalers don't stock the product, if you can't 11       Q. And were those mechanisms of promotion
12   get it anywhere, then you could have the cheapest 12   funded by administration fees or marketing fees?
13   price or the best spread and it doesn't matter.   13           MR. COOK: Objection.
14   You can't get the product.                        14           THE WITNESS: Part of the services that
15           And then we looked at a relationship      15   we provide to the drug manufacturers is to
16   with the companies that we did business with to   16   promote the contracts that we have available.
17   make sure that they were working with us on       17   That is part of what we do.
18   education and other programs that we wanted to do 18   BY MR. ANDERSON:
19   with other membership.                            19       Q. Right.
20           So, all of those things combined is how   20           And in turn, the manufacturers pay
21   we made our awards to determine which products 21      GeriMed what are known as administration fees or
22   that we put on our contracts.                     22   marketing fees, correct?
                                           Page 167                                                Page 169
 1   BY MR. ANDERSON:                                   1      A. Correct.
 2      Q. And in considering those factors, did        2      Q. And would you consider the GeriMed
 3   GeriMed ultimately strive to choose one generic    3   provided binders or software, such as EmphaSys,
 4   product in a given therapeutic class as the        4   to be aspects of that drug promotion?
 5   preferred generic?                                 5      A. Yes.
 6      A. It would depend on the product and           6      Q. Now, you testified this morning, and I
 7   depend on the offer that we receive from the       7   think previously, that the administration --
 8   pharmaceutical company. Some products we did       8   contract administration fees or marketing fees
 9   that with, and some products we did not. And I     9   range from -- anywhere from zero to 3 percent,
10   would say in most cases, if you look at the       10   correct?
11   majority of them, we -- we did a lot of dual      11      A. Correct.
12   awards. Again, availability of the product and    12      Q. And then specifically, you recall that
13   making sure that we have a low cost product       13   Abbott pays somewhere between 2 and 3 percent,
14   available to people was extremely important.      14   correct?
15      Q. Now, in evaluating these factors in         15      A. Correct.
16   selecting a product or, in the case of a dual     16      Q. In looking at some of the past contract
17   award, two products, you'll agree that AWP, or    17   price sales totals, I noticed that Abbott was --
18   spread, was one of the factors, correct?          18   Abbott products were being purchased by GeriMed
19      A. One of the factors, yes.                    19   members in the $1.3 million range.
20      Q. How did GeriMed go about ensuring or        20          Does that sound about right?
21   promoting compliance by its member pharmacies     21      A. Based on the numbers we looked at this
22   with the GeriMed selected product?                22   morning, yeah.
                                                                            43 (Pages 166 to 169)
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 1      Q. And so, does that mean that Abbott was       1   that includes information from -- on changes and
 2   paying somewhere around 20- to $30,000 in          2   other information. And also, it could include
 3   administration fees to GeriMed?                    3   information clinically about different drugs and
 4          MR. COOK: Objection.                        4   other piece of information. Yes.
 5          THE WITNESS: Per year, yes.                 5      Q. And that's in the form of a newsletter,
 6   BY MR. ANDERSON:                                   6   correct?
 7      Q. Yes.                                         7      A. A newsletter and -- and a printout of
 8          And -- and is that consistent with your     8   what the changes would be, yes.
 9   experience?                                        9      Q. And -- and in your prior deposition,
10      A. Yes.                                        10   you were questioned about an exhibit that was an
11      Q. All right. And -- and that money,           11   example of that newsletter, correct?
12   somewhere between $20- to 30,000 annually, was, 12        A. Correct.
13   in part, funding GeriMed's promotion efforts,     13      Q. And in that newsletter, there was
14   correct?                                          14   discussion of spread, correct?
15      A. Correct.                                    15      A. Correct.
16          MR. COOK: Objection.                       16      Q. And that's consistent with the type of
17   BY MR. ANDERSON:                                  17   information that GeriMed provides its members
18      Q. Including GeriMed's sharing of printed      18   over the years in the newsletters, correct?
19   binders, identifying awarded products, as well as 19      A. Correct.
20   the EmphaSys system, correct?                     20      Q. All right. Now, other than the
21      A. Correct.                                    21   newsletters, is there some other form of
22      Q. And you'll agree that both the printed      22   promotion or promotional activities that GeriMed
                                           Page 171                                                Page 173
 1   binders, as well as the EmphaSys system, identify  1   undertakes with its members?
 2   drug products, in part, based on best spread,      2      A. I mean, I guess you could call the
 3   correct?                                           3   seminars a piece of that, too, educational
 4      A. Yes.                                         4   promotional material.
 5          MR. ROBBEN: Objection.                      5      Q. I know what you're referring to.
 6   BY MR. ANDERSON:                                   6         You're referring to the seminars where
 7      Q. And in your prior testimony, there was       7   PowerPoint presentations are presented, correct?
 8   actually a demonstration of the EmphaSys software  8      A. Yes.
 9   that indicated when a drug had the best spread,    9      Q. And in your prior testimony, as well as
10   an "S" would be shown in a field for that drug    10   today, you've looked at some that were, for
11   product, correct?                                 11   instance, titled, "Unlocking Profits," correct?
12      A. Correct.                                    12      A. Correct.
13      Q. Okay. And over the years, pharmacies        13      Q. And in those presentations, GeriMed
14   that were members of the GeriMed program, the     14   personnel are explaining to members, primarily
15   IVMed program, or the RxMed program, would have 15     pharmacies, that there are mechanisms by which
16   access to that spread identification software,    16   they can maximize their profit, correct?
17   correct?                                          17      A. Correct.
18      A. Correct.                                    18      Q. Including maximizing drug reimbursement
19      Q. Are there any other promotional             19   based, in part, on AWP, correct?
20   services that GeriMed provides to its members?    20      A. Correct.
21      A. We talked about it before. We do a          21      Q. All right. In -- in reconciling the
22   monthly update that we send out to the membership 22   amount of administration fees or marketing fees
                                                                            44 (Pages 170 to 173)
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 1   that a drug company owes GeriMed, do the          1            Do you perceive that member pharmacies
 2   representatives of the drug company audit the     2     of GeriMed's receive any rebates off the price
 3   amount of sales that GeriMed shows to GeriMed     3     that they pay?
 4   members?                                          4            MR. COOK: Objection.
 5      A. I'm not sure what you're asking.            5            THE WITNESS: On some particular items,
 6      Q. Well, I'm sorry. I'll make it a little      6     there are rebates that are paid, but not overall
 7   more simple.                                      7     on -- on the majority of contracts that does not
 8          When -- when you submit a request for      8     happen. They are paid an invoice price at -- at
 9   payment of an administration fee from a drug      9     the wholesaler level.
10   company, is there some type of reconciliation    10     BY MR. ANDERSON:
11   that goes on?                                    11        Q. And --
12      A. Well, they -- the majority of the          12        A. As a contract price.
13   manufacturers have charge-backs that go through  13        Q. And that's the extent of the
14   the wholesalers, and they report the dollars to  14     transaction?
15   us. We track information in here too.            15        A. Correct.
16      Q. Who would you say is primarily             16        Q. And it's fairly rare that an additional
17   responsible for tracking the amount of sales to  17     rebate would be paid by a drug company?
18   GeriMed members? GeriMed or the drug companies 18          A. It's not rare, but it's not -- if you
19   themselves?                                      19     look at 12,000 line items that we have on
20          MR. COOK: Objection.                      20     contract, it's probably on a couple of hundred of
21          THE WITNESS: Probably both. Probably      21     those line items. It's not on thousands of the
22   both. I would say, you know, the majority of the 22     items.
                                            Page 175                                                 Page 177
 1   reports that come in here are from the drug         1      Q. In a situation where an -- an
 2   companies, but we also monitor those and make       2   additional rebate is paid by a drug company, does
 3   sure that they're accurate too.                     3   that rebate go through GeriMed, or is it paid
 4   BY MR. ANDERSON:                                    4   directly to the pharmacy?
 5      Q. Is it your experience that drug               5      A. The majority --
 6   companies are aware of the amount of sales that     6          MR. COOK: Objection.
 7   they've made to GeriMed member pharmacies?          7          THE WITNESS: The majority of them go
 8      A. Yes.                                          8   through GeriMed.
 9      Q. Is it your experience they're -- drug         9   BY MR. ANDERSON:
10   companies are typically aware of the prices at     10      Q. And -- and you, in turn, would
11   which they're selling drug products to GeriMed     11   distribute that pro rata to the member
12   pharmacies?                                        12   pharmacies?
13      A. Yes.                                         13      A. Correct.
14      Q. Are those prices gross invoice prices,       14      Q. Do you believe that in awarding the
15   or are those prices net price?                     15   injectable drug bid award to Abbott over the
16          MR. COOK: Objection.                        16   years, that GeriMed considered the relative AWP
17          THE WITNESS: Again, I'm not sure what       17   spread on Abbott products in comparison to the
18   -- what's -- what is the difference? Why are you   18   competitors?
19   asking me the difference?                          19          MR. COOK: Objection.
20   BY MR. ANDERSON:                                   20          THE WITNESS: I believe it was one of
21      Q. Do you perceive that a member pharmacy       21   the pieces of the pie that we looked at, but it
22   of GeriMed pays -- strike that.                    22   wasn't the only -- the only part that we looked
                                                                             45 (Pages 174 to 177)
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 1   at when we made a decision on awarding products. 1     happened?
 2   BY MR. ANDERSON:                                  2    BY MR. ANDERSON:
 3       Q. Do you believe that Abbott was aware       3        Q. Yes.
 4   that AWP, or spread information, was one factor   4        A. I know there was a lot of -- a lot of
 5   in GeriMed's consideration?                       5    people talking about AWPs and that I don't -- I
 6       A. Yes. It was actually stated in the bid     6    don't believe Abbott was the only one that did
 7   document that we sent to them.                    7    that. I think that was a general consensus
 8       Q. And why does GeriMed make such a           8    across all of the pharmaceutical companies to --
 9   statement in its request for bids or request for  9    to do that.
10   proposal?                                        10        Q. What's your understanding of why some
11          MR. COOK: Objection.                      11    AWPs came down in 2001?
12          THE WITNESS: Because it's a mechanism 12            A. I -- I don't -- I don't know exactly
13   for the pharmacies to understand how they get    13    why. I was told that there was a lot of
14   reimbursed, and that's a piece of how they did   14    investigations into what the drug companies were
15   business.                                        15    doing at that time.
16   BY MR. ANDERSON:                                 16        Q. Did you understand drug companies
17       Q. Why does GeriMed also send the AWP        17    changed the way they reported prices as a result
18   spread information to drug companies?            18    of investigations into the pricing?
19          MR. COOK: Objection.                      19        A. I know that a lot of them started only
20          THE WITNESS: You mean on the document 20        reporting their wholesaler acquisition costs or
21   that we send -- send to them?                    21    their direct prices rather than AWPs at that
22   BY MR. ANDERSON:                                 22    time.
                                           Page 179                                                Page 181
 1       Q. Yes. The request for proposal.              1       Q. How did you come to learn that?
 2       A. Oh, on the -- why do we ask them to         2       A. A lot of the drug companies told me
 3   include that?                                      3   that that's what they were doing.
 4       Q. Yes.                                        4       Q. And do you know why drug companies
 5       A. Because, again, it's part -- was part       5   would stop publishing AWP?
 6   of how the business was done during that period    6          MR. COOK: Objection.
 7   of time.                                           7          THE WITNESS: I believe, again, that
 8       Q. And do you think that GeriMed was           8   there was some type of investigation going on
 9   unique in notifying drug companies that relative   9   during that time.
10   AWPs, or AWP spreads, would be considered by drug 10   BY MR. ANDERSON:
11   purchasers?                                       11       Q. I understand that, but what was your
12         MR. COOK: Objection.                        12   understanding of why drug companies no longer
13         THE WITNESS: No.                            13   felt comfortable publishing AWP?
14   BY MR. ANDERSON:                                  14          MR. ROBBEN: Objection.
15       Q. You mentioned earlier this morning that    15          THE WITNESS: I don't know if anybody
16   you recall in 2001 there were some significant    16   actually told me the exact reason why.
17   AWP price decreases on Abbott drugs.              17   BY MR. ANDERSON:
18         Do you recall that?                         18       Q. I believe in your prior testimony,
19       A. Yes.                                       19   you've stated that drug manufacturer
20       Q. Why do you recall that episode in 2001?    20   representatives sometimes interacted with GeriMed
21         MR. COOK: Objection.                        21   members at seminars; is that true?
22         THE WITNESS: Why do I recall that it        22       A. Interacted with them?
                                                                            46 (Pages 178 to 181)
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